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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION
                                                                      CERTIFIED A TRUE COPY
IN RE: AT&T INC. CUSTOMER DATA SECURITY                               KAREN MITCHELL, CLERK
BREACH LITIGATION                                                                                MDL No. 3114
                                                                   Thomas Drew
                                                                  DEPUTY CLERK
                                                         U.S. DISTRICT COURT, NORTHERN
                                       (SEE ATTACHED SCHEDULE) DISTRICT OF TEXAS

                                                                             June 24, 2024

                             CONDITIONAL TRANSFER ORDER (CTO −3)



On June 5, 2024, the Panel transferred 1 civil action(s) to the United States District Court for the Northern
District of Texas for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
__F.Supp.3d__ (J.P.M.L. 2024). Since that time, 18 additional action(s) have been transferred to the Northern
District of Texas. With the consent of that court, all such actions have been assigned to the Honorable Ada E.
Brown.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of Texas and assigned to Judge Brown.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
Texas for the reasons stated in the order of June 5, 2024, and, with the consent of that court, assigned to the
Honorable Ada E. Brown.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of Texas. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:


                                 Jun 24, 2024

                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
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IN RE: AT&T INC. CUSTOMER DATA SECURITY
BREACH LITIGATION                                                            MDL No. 3114



                      SCHEDULE CTO−3 − TAG−ALONG ACTIONS



  DIST        DIV.     C.A.NO.      CASE CAPTION


CALIFORNIA NORTHERN

  CAN          5       24−03574     Nguyen v. AT&T Mobility LLC

FLORIDA MIDDLE

  FLM          8       24−01422     Raslavich v. AT&T Inc. Opposed 6/21/24
